         Case 1:17-cv-09615-WHP Document 17 Filed 03/19/18 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                 :
 KAYLA REED, et ano.,                            :
                                                 :           17cv9615
                Plaintiffs,                      :
                                                 :           ORDER
                -against-                        :
                                                 :
 GIORGIO ARMANI CORP.,                           :
                                                 :
                Defendant.                       :
                                                 :

WILLIAM H. PAULEY III, United States District Judge:
               It having been reported to this Court that this action has been or will be settled

(see ECF No. 16), this action is discontinued without costs to any party, and without prejudice to

reopening this action if such an application is made within thirty (30) days of this Order.

               Any application to reopen must be filed within thirty (30) days of this Order, and

any application to reopen filed thereafter may be denied solely on that basis. Further, if the

parties wish for this Court to retain jurisdiction for the purposes of enforcing any settlement, they

must submit the settlement agreement to this Court within the same thirty-day period to be “so

ordered.” All conferences and other deadlines are hereby vacated.

               The Clerk of Court is directed to terminate all pending motions and close this

case.

Dated: March 19, 2018
       New York, New York                             SO ORDERED:


                                                      _______________________________
                                                           WILLIAM H. PAULEY III
                                                                  U.S.D.J.
